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Hundreds of assault cases
misreported by Milwaukee Police
Department

City's violent crime rate lowered based on faulty data

By Ben Poston of the Journal Sentinel

May 22, 2012

When Milwaukee Police Chief Edward Flynn touted the city's fourth-
straight year of falling crime in February, hundreds of beatings,
stabbings and child abuse cases were missing from the count, a Journal

Sentinel investigation has found.

More than 500 incidents since 2009 were misreported to the FBI as
minor assaults and not included in the city's violent crime rate, the

investigation found. That tally is based on a review of cases that EXHIBIT
resulted in charges - only about one-fifth of all reported crimes. ; Yo

Yet the misreported cases found in 2011 alone are enough that Flynn
would have been announcing a 1.1% increase in violent crime in
February, instead of a 2.3% decline from the reported 2010 numbers,

which also include errors. } } ©— Ss = mm etme “13 0 7

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Missing, for example, was the case of Crystal L. Mitchell, 21, who last
May grabbed a 9-inch serrated steak knife during an argument with her

uncle, stabbed him in his thigh and slashed his arm.

And the case of John F. Sanford, 57, who in December bound his 6-
year-old stepson's arms and legs, covered his mouth with duct tape and
struck him some 90 times with a belt, later telling him: "I was trying to
make you (expletive) on yourself." A doctor at Children's Hospital

found cuts and bruises all over the boy's body.

Based on FBI reporting guidelines, both should have been classified as
aggravated assaults, the city's most common violent crime. Instead,
they were reported as simple assaults, a category reserved for shoving

matches and slaps to the face.

At the request of the Journal Sentinel, FBI crime experts reviewed
these and dozens of other incidents and confirmed that they should
have been labeled as aggravated assaults. In addition to the more than
500 misreported incidents, the investigation found at least 800 more
that fit the same pattern but could not be confirmed through available
public records. The Journal Sentinel has submitted an open records

request for those cases.

The misclassified crimes included cases where perpetrators threatened
to kill victims; stabbed or cut them with knives; and beat them with

canes, crowbars and hammers.

Nearly one-third of the assault cases identified by the Journal Sentinel
involved the abuse of children - most were struck in the head with belts

and electrical cords, causing cuts, bloody eardrums and black eyes.

Instead of accurately reporting the weapons used as firearms, knives or
blunt objects, the department reported them to the state and FBI ina

way that avoided triggering scrutiny by those who review the numbers. 9

Criminologists reviewed the Journal Sentinel's findings and said they

showed a pattern of misreporting that has helped drive down the city's

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crime rate.

"Misreporting is cheating the public," said Michael Maltz, criminology
professor at Ohio State University. He called the Journal Sentinel

findings just "the tip of the iceberg.”

"If they are playing fast and loose, they will do it with the cases they
don't send to the prosecutor,” said Maltz, senior researcher at the
university's Criminal Justice Research Center. "If it's this bad at this

level, how bad can it be on the cases that don't reach eye level?"

The FBI's Uniform Crime Reporting system is aimed at helping the
state and FBI monitor crime and trends. A city's overall crime rate is
made up of eight categories - four violent crimes (homicide, rape,
robbery and aggravated assault) and four property crimes (burglary,

theft, motor vehicle theft and arson).

All other incidents, such as simple assaults, are excluded from the

official crime rate.

When a crime is misreported as a lesser incident, to the general public

it's as if it never happened.

Sam Walker, criminology professor at the University of Nebraska-
Omaha, said the Journal Sentinel's investigation identified patterns that

raise questions about the department's procedures.

"That clearly indicates a systemic problem in the department - there has
to be a failure of leadership," he said. "If (police) do it in one or two
cases, it's not a big deal. If they do it in a large number of cases, it's
suspicious and probably improper. It's something that needs to be

corrected immediately."

Buoyed by a falling crime rate, Flynn became the first Milwaukee
police chief in 27 years to have his contract renewed in October,

receiving a second four-year term. = 13 09

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When presented with a sample of the incidents, police officials agreed
they were misreported and told the Journal Sentinel that the department
would revise the crime classifications in coming weeks. Flynn

attributed the misreported crimes to human and computer error.

"I never pretended that we were ever going to reach perfect statistical
analysis here in terms of the numbers that we reported, and there isn't a
police department in the United States that will represent that," Flynn
said. "We are not cavalier about it. That's why we have sergeants and
lieutenants, and if they are getting it wrong to a statistically significant

degree, obviously we want to take a look at that."

It's an inherent problem in all major city police departments that a

percentage of crimes will be miscoded when recorded, Flynn said.

Errors in crime classification don't change how cases are handled by
prosecutors; records indicate many of the perpetrators were convicted
of their crimes. Unlike the data sent to the state and FBI, police
incident reports sent to prosecutors included a narrative that provided

accurate details about weapons, threats and injuries.

While Flynn has touted a 21% overall drop in crime on his watch
during the past four years, the Milwaukee County district attorney's

office charged only 2.6% fewer felony cases during the same period.

According to state crime data, the city generates more than 90% of the
reported violent crime and more than two-thirds of the property crime
in Milwaukee County. The other 20 law enforcement agencies in the
county reported a nearly 9% drop in their crime numbers during that

time.

Mike Tobin, executive director of the Milwaukee Fire and Police
Commission, said Flynn alerted him several months ago about
problems with crime coding, including training and computer software

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issues.

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The Police Department told him that they would conduct a random-
sample audit, though it has not begun. Police plan to look at several
hundred reports as part of that review, which will cover the past five
years. The Journal Sentinel's review encompassed nearly 60,000 cases

that were referred to prosecutors since 2009.

Tobin told the Journal Sentinel that depending on the results of that
internal audit, he would consider having the commission launch an

outside audit.

"If a mistake was made, it will be fixed," Tobin said. "Once the data is

scrubbed, and if errors are identified, those will be corrected."

Mayor Tom Barrett said he is confident that the Police Department will

identify and work to correct any crime reporting errors.

"It's important for the public to have the most accurate and current data

as possible,” he said in a statement.

Stephen Fischer, spokesman for the FBI's Criminal Justice Information
Services division, called the classifications of specific incidents sent by
the newspaper "questionable." Still, he said, the FBI defers "to the
investigative expertise of the on-scene law enforcement personnel" on

matters of crime classification.
3 Factors Used By FBI

In Milwaukee, aggravated assaults have made up about half of all
violent crime since Flynn took charge in 2008. Among the four violent
crimes, the largest percentage drop has come from aggravated assaults,
falling 35% since 2007.

In each misclassified case found by the Journal Sentinel, the incident

became a simple assault.

When determining whether an assault is aggravated, the FBI considers
three main factors - weapon used, seriousness of injury andintentto----=-]131]

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Weapons. If the perpetrator used - or threatened to use - a dangerous
weapon such as a gun, knife or blunt object, it must be classified as

aggravated assault.

Yet the newspaper found hundreds of incidents listed as simple assault

where court and police records show a weapon was used.

In February, for example, Precious Taylor, 26, became upset with her
boyfriend for talking to another woman at a party. The dispute
escalated, and Taylor broke several glass-framed photos over his head,

police records show.

Taylor grabbed a pan from the kitchen and hit him over the head,
breaking the pan. She then grabbed a knife and stabbed her boyfriend

in his arm.

Taylor told police that when her boyfriend didn't get home until 5:30
that morning, she just "snapped." She admitted to attacking him.

Police arrested Taylor for misdemeanor battery, and prosecutors
charged her with disorderly conduct, use of a dangerous weapon, which

carries a 90-day jail sentence.

FBI experts say the incident should have been marked as an aggravated

assault.

Injuries. If a victim is seriously injured in a criminal incident, such as
broken bones, cuts that require stitches or internal injuries, it must be

classified as an aggravated assault.

However, the Journal Sentinel found more than 100 misclassified

incidents in which victims suffered grave injuries.

In February 2011, for example, Clarence J. Davis, 59, invited his

girlfriend over to his home on N. 29th St. Once inside the house, an

intoxicated Davis punched his girlfriend in the face. Blood poured

down her shirt. “se ee 1312

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. . Police were called to the home and saw the victim's nose was bleeding.
The officer noted in the incident report that the victim's nose "appeared
to be off center as it was broken." The victim was taken to Aurora Sinai
Medical Center in Milwaukee, where a doctor determined she had a

broken nose.

When a victim suffers serious injuries such as a broken nose, it should

be marked as an aggravated assault, FBI guidelines state.

The district attorney's office charged Davis with substantial battery, a
felony punishable by up to 3 1/2 years in prison. He pleaded guilty in

July to a lesser charge and received two years' probation.

Milwaukee police marked the incident as simple assault.

Intent. If an assailant intended to cause serious injury by threatening to
kill or seriously injure the victim, it must be classified as an aggravated

assault.

In December 2009, for example, Antonio Hoskins came to his mother's
house on N. 10th St. in a rage and began to choke his pregnant
girlfriend in the bathroom. The victim, Darcye Maki, said she was
about to pass out from being choked when Hoskins' mother knocked on

the door.

Hoskins, then 21, punched Maki in the head and face with closed fists,
yelling, "I'm gonna kill you, and I'm gonna kill that baby, too!" the

incident report shows.

That statement of intent alone is enough to qualify the incident as an

aggravated assault, criminologists said, but there was more.

Hoskins next grabbed a two-by-four and hit Maki 15 times in the head
and back, causing bruising and a cut on her head.

"That's when he got me real good," Maki wrote in her victim impacte —- . — — = 1318
statement. "I was on the floor screaming and crying, holding and
uarding m stomach because 7 was two months pregnant at the time.

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We both knew I was pregnant. He said he was going to kill me and the
baby if that is the last (thing) I do."

Maki ran out of the house and through some yards to a nearby church

where she called police.

"IT couldn't really breathe. My head was bleeding and I needed stitches

and J had internal bruising,” she wrote in the impact statement.

Hoskins pleaded guilty to misdemeanor battery in 2010 and was

sentenced to 18 months' probation.
Milwaukee police labeled the crime as a simple assault.

Incorrect Weapon Codes

On each incident report, police enter a numerical code into their
computer system for the category of crime and the type of weapon

used.

In hundreds of the misclassified incidents, police and court records
show that a dangerous weapon was used, but police listed the numerical
code for the weapon as "personal" or "other." In such cases, the coding
would not trigger additional inquiry by the state or FBI when

submitted.

As police departments submit monthly crime data, the Wisconsin
Office of Justice Assistance performs systematic checks, agency
spokeswoman Tami Jackson said. The state agency is responsible for
compiling and reporting crime numbers to the FBI's Uniform Crime
Reporting Program.

If an incident were reported as a simple assault, but the data showed a
code for a firearm, knife or blunt object, it would be flagged as an error

and sent back to the law enforcement agency for revision, Jackson said.

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Based on available public records, the Journal Sentinel could not

determine whether the weapon codes were initially entered wrong,

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whether they were due to a computer error or whether someone
changed the code after the fact.

In September 2010, for example, Willie J. Carter, 65, became upset
with his wife and pulled out a .357 caliber revolver at their north side
home. He waved it around and threatened her with it, the incident

report shows.

Carter pushed his 68-year-old wife to the floor and kicked her in the

head and face multiple times, causing her nose and head to bleed. The
police officer who responded to the scene observed a large knot on the
victim's head and blood running down her chin and onto her shirt. She

refused to be taken to the hospital and received treatment at the scene.

Carter was charged with felony battery - he pleaded no contest to a
lesser charge last year and received 18 months' probation, court records

show.

Because he threatened the victim with a gun, the incident should have

been marked as an aggravated assault, FBI guidelines state.

While the police incident report mentions more than a dozen times that
a handgun was used during the incident and accurately lists a weapon
code for a "handgun," data sent to the state and FBI listed the weapon

with generic codes: "personal" and "other."
Therefore, it was not flagged as incorrect.

Walker, the criminologist from Nebraska, said the fact that hundreds of
mislabeled aggravated assaults also included inaccurate weapon codes

raises the question of whether the crimes were deliberately misreported.

"It indicates that these are not accidents," Walker said. "Somebody
knows what's going on. Somebody understands the implications of
reporting it this way, instead of that way. The question is: Who is

making those decisions?"

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Neither Flynn nor several high-ranking police officials could provide

an explanation for the discrepancy in weapon codes.

But Flynn said the department's records management system is to
blame for many problems in crime coding. That system is run on
software sold by Tiburon Inc., which provides records management

support to about 500 police departments nationwide.

"The Tiburon system is still extraordinarily problematic," Flynn said.
"It's proprietary and every single adjustment requires an additional
expense. They've got a national reputation for being lousy on customer
service with police departments, and we have struggled with this

system."
Case Before High Court

In 2010, the Journal Sentinel attempted to do an audit of two weeks of

incident reports for offenses such as assault, burglary and theft.

The Police Department, which had produced 100 copies of incident
reports for free, switched gears and sent the newspaper a letter saying
the cost to obtain the additional 750 reports would be more than $4,500

and would take police more than nine months.

The Journal Sentinel challenged this as a violation of the state open
records laws, arguing the law doesn't allow government agencies to
charge for redacting records. A lawsuit filed in 2010 asked a judge to
order the department to allow the Journal Sentinel to inspect and copy
the records without prepayment of fees for redaction and without

unreasonable delay.

Milwaukee County Circuit Judge Thomas Cooper ruled in favor of the
Police Department in February, and the paper appealed the case to the
Wisconsin Supreme Court, which heard oral arguments in April. The

court is expected to rule on the case by the end of June. ~-----1316

Without direct access to these records, the Journal Sentinel obtained

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the Justice Assistance office through an open records request to the

state agency.

That incident data, from early 2009 through February 2012, was cross-
referenced with the Milwaukee County district attorney's case
management database and the Wisconsin circuit court criminal

database for the same period.

A reporter identified cases that were referred to the district attorney's
office as felony assaults but were listed as simple assaults in the data
sent to the state. The Journal Sentinel also isolated incidents referred as
misdemeanor assaults in which the perpetrator used a dangerous

weapon or inflicted serious injury to a victim.

Using this approach, the newspaper was able to review about 20% of

the police incidents reported.

The only way to do a full audit of the Milwaukee police crime
reporting numbers would be to review all the paper incident reports to

determine whether those crimes were properly classified.

FBI crime data receives little official scrutiny, according to interviews

with the state Justice Assistance office and the FBI.

The state conducts no audits of crime data. The FBI conducts an audit
of Wisconsin law enforcement agencies once every three years, usually
of fewer than 10 police departments. Even then, FBI auditors pull only

a small sample of incident reports to check accuracy.

For example, during the last FBI audit in 2009, auditors examined an
average of 100 incident reports for each of the law enforcement

agencies reviewed.

At the request of Milwaukee police, the department was included in a
regular FBI audit conducted in May. The results of that audit, which
included eight other police agencies in the state, won't be released until

fall, the FBI spokesman said. ------713 17
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A Very Young Victim

Among more than 160 misreported felony child abuse cases flagged by

the Journal Sentinel, the case of Karmari Curtis stands out.

In the fall of 2010, Corey Benson was charged with felony child abuse

for beating 2-year-old Karmari, his girlfriend's son.

Benson initially told police that he was just playing rough with

Karmari.

He said the two of them were wrestling on the bed when Benson did
five elbow drops and two leg drops on the toddler, who then let out a

deep sigh and took several labored breaths, police records show.

About five minutes later, Benson began playing with the injured boy
again and shoved him hard in the back into the bedroom, causing him

to collide with the corner of a box spring.
Benson heard a loud thud. He picked up Karmari and put him into bed.

He later told police that he noticed that the boy was struggling to
breathe. His eyes rolled back in his head, and he was losing
consciousness. Benson yelled Karmari's name to keep him from

passing out.

Benson didn't call 911. He didn't tell the boy's mother, Williete Famolu,
what had happened.

When Famolu returned home, Benson told her that the boy's stomach
got bruised from playing football, but she saw purple bruising and

noticed her son was exhausted, pale and limp in her arms.

She took him to Aurora Sinai Medical Center, and Karmari was taken
to Children's Hospital where he spent the next six days in intensive care
hooked up to IVs and a catheter. ~-----1318

"T was upset, I was sad, and I was scared for my son," Famolu said in

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The pediatrician who examined Karmari found interna! injuries that
were "quite severe and could have easily resulted in the death of

(Karmari) had he not been brought for medical attention when he was."

Milwaukee County Assistant District Attorney Matt Torbenson said
initially police couldn't determine the extent of Karmari's injuries.
More than a week later, a doctor at Children's Hospital informed police

that the boy's injuries were found to be the result of child abuse.

"At that point, the police certainly knew that we had a very serious,

life-threatening injury," Torbenson said.

The injuries to the toddler warranted an aggravated assault designation,
FBI experts said. And so did Milwaukee police officials when

presented with the error.

"Why the police didn't change it, I don't know," Torbenson said. "That

would be for their department to comment on."

Benson was convicted of felony child abuse this year. A sentencing

hearing is set for July.

Wendy Patrickus, attorney for the victim's mother, said misreporting
assaults like Karmari's demeans the pain and suffering of victims and

their families.

"For this to be minimized by police in the way that it has . . . is a big
deal," Patrickus said. "If this is an effort by (Milwaukee police) to

make themselves look better, that's a pretty sad state of affairs."

The 2010 beating that put Karmari in the hospital - classified by police
as a simple assault - was not included in the city's violent crime rate for

that year.

The little boy did show up in the 2011 numbers - this time in a category

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that's harder to misreport.

Benson was left alone with Karmari again in April 2011.
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This time Karmari died.

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By The Numbers

e 500 Number of aggravated assaults that were incorrectly downgraded
by the Milwaukee Police Department over the past three years,
according to a Journal Sentinel analysis.

e 800 Number of cases that fit the same pattern but could not be
confirmed through available public records.

e 214 Number of misclassified aggravated assaults that occurred in 2011.

e -2.3% Drop in total violent crimes from 2010 to 2011 as reported by
Milwaukee police.

e +1.1% Increase in violent crimes from 2010 to 2011 based on the

Journal Sentinel’s findings.

Source: Milwaukee County district attorney’s office; Wisconsin Office
of Justice Assistance; Wisconsin Circuit Court database; Journal

Sentinel analysis

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About Ben Poston

Ben Poston is the Journal Sentinel's investigative reporter focusing on database and
mapping analysis. He joined the newspaper in June 2007 and has written about
weaknesses in the region's tornado warning system, inspection delays for dangerous
dams and convicted felons who obtain gun hunting licenses. Previously, he worked as
a data analyst at the National Institute for Computer-Assisted Reporting in Columbia,
Mo. Prior to that, he worked for three years as a reporter for Cox Newspapers in Ohio.
Poston worked for a year as a freelance reporter on a wrongful conviction murder case
in Southeastern Missouri that was published in the St. Louis Post-Dispatch. He wrote
stories from Mississippi detailing the aftermath of Hurricane Katrina that won a 2006
Best of Cox Newspapers Award. Poston holds a bachelor's degree in international
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